                                   Case 22-13411-PDR                 Doc 1       Filed 04/29/22            Page 1 of 22


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE DIVISION

Case number (if known)                                                     Chapter       7
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                USA Pools, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  2000 NW 105th Ter
                                  Pembroke Pines, FL 33026-2343
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                        Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 2000 NW 105th Ter Pembroke Pines, FL
                                                                                                 33026-2343
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.usapoolsinc.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                  Case 22-13411-PDR                     Doc 1         Filed 04/29/22               Page 2 of 22
Debtor    USA Pools, Inc.                                                                             Case number ( if known )
          Name


7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                    Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                               Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow statement,
                                                                and federal income tax return, or if all of these documents do not exist, follow the procedure in 11
                                                                U.S.C. § 1116(1)(B).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to proceed
                                                                under Subchapter V of Chapter 11.
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy
     cases filed by or against the
                                      No.
     debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                            District                                  When                                    Case number
                                               District                                  When                                    Case number

10. Are any bankruptcy cases
    pending or being filed by a
                                      No
    business partner or an             Yes.
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 2
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Debtor    USA Pools, Inc.                                                                                 Case number ( if known )
          Name

     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                       Relationship
                                                    District                                 When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                             preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                    Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                 Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                1-49                                             1,000-5,000                                  25,001-50,000
    creditors                                                                            5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                         10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                   $0 - $50,000                                     $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities              $0 - $50,000                                     $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                                  Case 22-13411-PDR                      Doc 1         Filed 04/29/22                  Page 4 of 22
Debtor    USA Pools, Inc.                                                                                 Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       April 29, 2022
                                                    MM / DD / YYYY


                              X   /s/ Leslie Schiff                                                              Leslie Schiff
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   President




18. Signature of attorney     X   /s/ Chad Van Horn                                                                Date April 29, 2022
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Chad Van Horn
                                  Printed name

                                  Van Horn Law Group, P.A.
                                  Firm name


                                  500 NE 4th St Ste 200
                                  Fort Lauderdale, FL 33301-1163
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (954) 765-3166                  Email address         chad@cvhlawgroup.com

                                  64500
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                    Case 22-13411-PDR                   Doc 1     Filed 04/29/22             Page 5 of 22

            Fill in this information to identify the case:

 Debtor name          USA Pools, Inc.

                                                   SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:           DIVISION

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
      Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)          Type of account                            Last 4 digits of account
                                                                                                             number


            3.1.     Wells Fargo Bank                                     Checking                           2643                                             $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                           $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No.    Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No.    Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

      No.    Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                                  page 1
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                                    Case 22-13411-PDR                   Doc 1      Filed 04/29/22             Page 6 of 22

 Debtor         USA Pools, Inc.                                                               Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.     Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.     Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No.     Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.     Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    No.     Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.     Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.     Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                 page 2
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                                        Case 22-13411-PDR                               Doc 1            Filed 04/29/22                Page 7 of 22

 Debtor           USA Pools, Inc.                                                                                      Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                       $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                            $0.00

 91. Total. Add lines 80 through 90 for each column                                                                        $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                           $0.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                         page 3
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                                    Case 22-13411-PDR                Doc 1      Filed 04/29/22             Page 8 of 22

          Fill in this information to identify the case:

 Debtor name        USA Pools, Inc.

                                                   SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:           DIVISION

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                             12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

     No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                              Schedule D: Creditors Who Have Claims Secured by Property                                          page 1 of 1
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                                    Case 22-13411-PDR                       Doc 1          Filed 04/29/22                     Page 9 of 22

    Fill in this information to identify the case:

 Debtor name         USA Pools, Inc.

                                                   SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:           DIVISION

 Case number (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $18,665.00
           Ed Nader & Roxana Nader                                             Contingent
                                                                               Unliquidated
           3065 SW 45th St                                                     Disputed
           Fort Lauderdale, FL 33312-5632
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                    On which line in Part1 or Part 2 is the              Last 4 digits of
                                                                                                       related creditor (if any) listed?                    account number, if
                                                                                                                                                            any
 4.1       Joey M. Lampert, Esq.
           121 S Orange Ave Ste 1500                                                                   Line      3.1
           Orlando, FL 32801-3241
                                                                                                               Not listed. Explain

 4.2       Kubicki Draper, P.A.
           110 E Broward Blvd Ste 1400                                                                 Line      3.1
           Fort Lauderdale, FL 33301-3503
                                                                                                               Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                             Total of claim amounts
 5a. Total claims from Part 1                                                                              5a.           $                          0.00
 5b. Total claims from Part 2                                                                              5b.     +     $                     18,665.00
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                   5c.           $                          18,665.00


Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 1
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                                   Case 22-13411-PDR                 Doc 1         Filed 04/29/22            Page 10 of 22

           Fill in this information to identify the case:

 Debtor name        USA Pools, Inc.

                                                   SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:           DIVISION

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal    Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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                                   Case 22-13411-PDR               Doc 1     Filed 04/29/22           Page 11 of 22

          Fill in this information to identify the case:

 Debtor name        USA Pools, Inc.

                                                   SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:           DIVISION

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                   Name                            Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City               State      Zip Code


    2.2                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City               State      Zip Code


    2.3                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City               State      Zip Code


    2.4                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City               State      Zip Code




Official Form 206H                                                       Schedule H: Your Codebtors                                         Page 1 of 1
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    Fill in this information to identify the case:

Debtor name       USA Pools, Inc.

                                             SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
United States Bankruptcy Court for the:      DIVISION

Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 29, 2022                    X /s/ Leslie Schiff
                                                             Signature of individual signing on behalf of debtor

                                                              Leslie Schiff
                                                              Printed name

                                                              President
                                                              Position or relationship to debtor
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            Fill in this information to identify the case:

 Debtor name            USA Pools, Inc.

                                                               SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:                       DIVISION

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $                    0.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$            18,665.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $              18,665.00




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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           Fill in this information to identify the case:

 Debtor name        USA Pools, Inc.

                                                   SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:           DIVISION

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                           Check all that apply                        (before deductions and
                                                                                                                                          exclusions)

       From the beginning of the fiscal year to filing date:                                  Operating a business                                             $0.00
       From 1/01/2022 to Filing Date
                                                                                               Other


       For prior year:                                                                        Operating a business                                  $217,000.00
       From 1/01/2021 to 12/31/2021
                                                                                               Other


       For year before that:                                                                  Operating a business                                   $54,739.00
       From 1/01/2020 to 12/31/2020
                                                                                               Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                              Description of sources of revenue           Gross revenue from
                                                                                                                                          each source
                                                                                                                                          (before deductions and
                                                                                                                                          exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

      None.
       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1

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    cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
    adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
    Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
    relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
       Insider's name and address                                         Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
       Creditor's name and address                           Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

      None
       Creditor's name and address                           Description of the action creditor took                          Date action was                  Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

       None.
               Case title                                     Nature of case              Court or agency's name and                 Status of case
               Case number                                                                address
       7.1.    Nader, Ed W, III & Nader,                      Contract and                Broward County Circuit                      Pending
               Roxana                                         Indebtedness                Court                                         On appeal
               vs.
                                                                                                                                        Concluded
               USA Pools, Inc.
               CACE15009639

       7.2.    Nader, Ed & Nader, Roxana                      Other -                     Broward County Circuit                      Pending
               vs.                                            Libel/Slander               Court                                         On appeal
               USA Pools, Inc.                                                                                                          Concluded
               CACE20007647

       7.3.    Nader, Ed and Nader, Roxana                    Other -                     Broward County Circuit                      Pending
               vs.                                            Libel/Slander               Court                                         On appeal
               USA Pools Inc, Schiff, Leslie
                                                                                                                                        Concluded
               CACE20-007950

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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      None
                Recipient's name and address                  Description of the gifts or contributions                  Dates given                          Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss          Value of property
       the loss occurred                                                                                                                                     lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                 Who was paid or who received the               If not money, describe any property transferred               Dates               Total amount or
                 transfer?                                                                                                                                 value
                 Address
       11.1.     Van Horn Law Group, P.A.
                 500 NE 4th St Ste 200
                 Fort Lauderdale, FL
                 33301-1163                                     Fees                                                          4/26/2022                 $2,588.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
                Who received transfer?                        Description of property transferred or                     Date transfer was        Total amount or
                Address                                       payments received or debts paid in exchange                made                              value

 Part 7:       Previous Locations

14. Previous addresses
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    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                                   Dates of occupancy
                                                                                                                          From-To

 Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                Facility name and address                     Nature of the business operation, including type of services the           If debtor provides meals
                                                              debtor provides                                                            and housing, number of
                                                                                                                                         patients in debtor’
                                                                                                                                                           s care

 Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and                Last 4 digits of           Type of account or           Date account was          Last balance before
                Address                                       account number             instrument                   closed, sold,              closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.




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 Debtor      USA Pools, Inc.                                                                            Case number (if known)




      None
       Facility name and address                                   Names of anyone with access            Description of the contents                  Does debtor still
                                                                   to it                                                                               have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

    None

 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                           Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5

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 Debtor      USA Pools, Inc.                                                                            Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

           None
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Carmen Dean                                                                                                           2021-2022
                    9349 Sheridan St
                    Pembroke Pines, FL 33024-8560

    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

           None
       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why
       26c.1.       Leslie Schiff
                    2000 NW 105th Ter
                    Pembroke Pines, FL 33026-2343

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          None
       Name and address

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       Leslie Schiff                                2000 NW 105th Ter                                     President, Owner                       100
                                                    Pembroke Pines, FL 33026-2343



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6

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 Debtor      USA Pools, Inc.                                                                            Case number (if known)




           No
           Yes. Identify below.

              Name and address of recipient                   Amount of money or description and value of                Dates             Reason for providing
                                                              property                                                                     the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the pension
                                                                                                              fund

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        April 29, 2022

 /s/ Leslie Schiff                                                     Leslie Schiff
 Signature of individual signing on behalf of the debtor               Printed name

 Position or relationship to debtor        President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
 Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7

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                                                                United States Bankruptcy Court
                                                       Southern District of Florida, Fort Lauderdale Division

       IN RE:                                                                                            Case No.
       USA Pools, Inc.                                                                                   Chapter 7
                                                            Debtor(s)

                                                            VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: April 29, 2022                                 Signature: /s/ Leslie Schiff
                                                                         Leslie Schiff, President                                   Debtor



       Date:                                                Signature:
                                                                                                                        Joint Debtor, if any




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Ed Nader & Roxana Nader
3065 SW 45th St
Fort Lauderdale, FL 33312-5632


Fla Department of Revenue
PO Box 6668
Tallahassee, FL 32314-6668


Internal Revenue Services
PO Box 7346
Philadelphia, PA 19101-7346


Joey M. Lampert, Esq.
121 S Orange Ave Ste 1500
Orlando, FL 32801-3241


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110 E Broward Blvd Ste 1400
Fort Lauderdale, FL 33301-3503


Leslie Schiff
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Pembroke Pines, FL      33023
